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Case 2:03-CV-02969-.]DB-STA Document 64 Filed 06/27/05 Page 1 of 3 Page|D 72
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lN THE uNlTED STATES DlSTRlCT couRT f ~...~. _', D-¢.
FOR THE WESTERN DrsTRlcT oF TENNESSEE 05 ` "`“
WESTERN DlvlsloN J‘-‘N.Z.T_ ,,PH!Z= 3;
W.M. BARR & coMPANY, lNc., 539§§§*1§°"8 DL.E".-E`-.OL-’O
VFD ‘(‘)#\:r-N. LJ\~'.;~¢. CT:
Plaintiffs, MEMPH'S
vs. No.; 03-29695A

NORTH AMERICAN CAPAC|TY |NSURANCE
COMPANV, AS SUCCESSOR |N |NTEREST TO
UNDERWR|TERS |NSURANCE CO AS TO
POL|CY NUMBER BCGOOO432 `

Defendant - Third Party P|aintiff,
vs.
LEXINGTON |NSURANCE COMPANY,
Third~Party Defendant - Third-Party P|aintiff,
vs.

ADM|RAL |NSURANCE COMPANY; L|BERTY
|V|UTUAL |NSURANCE COMPANY; LIBERTY
MUTUAL FIRE |NSURANCE COMPANY;
AMER|CAN E|V|P|RE GROUP; AIVIER|CAN

EMP|RE fNSURANCE COMPANY; A|VIER|CAN
EMP|RE SURPLUS L|NES INSURANCE COMPANY;
HO|V|E |NSURANCE COMPANY; STEADFAST
|NSURANCE COMPAN‘(; AND ZUR|CH AMER|CAN
!NSURANCE COMPAN¥,

Third~Party Defendants.

ORDER GRANT|NG MOT|ON OF DEFENDANT, ADMIRAL |NSURANCE COMPANY,
TO EXTEND TlME WlTH|N WH|CH TO FlLE RESPONS|VE PLEAD|NG

Thls document entered on the docket sheettj_;\ com |iance
with Flule 58 and/or 79(3) FFlCP on_LE'_'LS

Case 2:03-cv-02969-.]DB-STA Document 64 Filed 06/27/05 Page 2 of 3 Page|D 73

This cause came upon the motion of defendant, Admira| insurance Company, for
an extension to Ju|y 15, 2005 within which to file responsive pleadings in this cause.
This motion is found to be meritorious and well taken.

lT |S THEREFORE ORDERED ADJUDGED AND DECREED that said

/s’ 20=..<' Sm-

defendants be and are hereby allowed until , within which to file

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DATE YM 255 Zoof

responsive pleadings in this cause

QERTlF|CATLZ OF SERV|CE

| hereby certify that a copy of the foregoing instrument has been served upon
Robert V. Redding, counsel for W.M. Barr & Company, |nc, at 464 North Parkway, Suite
A, Jackson, Tennessee 38305; James C. Wright. counsel for North American Capacity
insurance Company, et 2701 Kingston Pike, P.O. Box 2649, Knoxvi||e, Tennessee
37901-2649; and John R. Branson, counsel for Lexington insurance Company, at 6075
Popiar Avenue, Suite 500, Memphis, Tennessee 38119, via U. S. N|ai|, postage pre-
paid this the 215‘ day of June, 2005. l

 

|VIOLLY GLOVER

STAES DISTRICT OU -WESTERNDI

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:03-CV-02969 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

